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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                               CR. NO.       14-699 (JBS)


                VS.                                    ORDER FOR INTERIM PAYMENT FOR
                                                       REPRESENTATION OF COUNSEL
RONALD DOUGLAS BYRD,                                   PURSUANT TO THE CRIMINAL
  a/k/a "Doug Byrd"                                    JUSTICE ACT 18:3006(A)




   Because of the complexity of the case, the expected length of pretrial preparation, the length

of the trial, and the anticipated hardship of counsel in undertaking representation full-time for

such a period without compensation, in accordance with section 230.73.10 of the Guidelines for

the Administration of the Criminal Justice Act, the following procedures for interim payments

shall apply during the course of your representation in this case:

                               1. SUBMISSION OF VOUCHERS

   Counsel shall submit to the Court Clerk, on a quarterly basis (every 3 months), an interim

CJA Form 20 "Appointment of and Authority to Pay Court Appointed Counsel". Compensation

earned and reimbursable expenses incurred shall be claimed on each interim voucher. The first

interim voucher submitted shall reflect all compensation claimed and reimbursable expenses

incurred from the date of appointment to       03/31/15                      and shall be submitted

no later than    04/30/15                     ; thereafter, the vouchers shall be submitted

quarterly according to the schedule outlined above. Each voucher shall be numbered in series in

Box 22 and include the time period it covers in Box 19. All interim vouchers shall be supported

by detailed and itemized time and expense statements. Chapter 2, Part C of the Guidelines for


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the Administration of the Criminal Justice Act outlines the procedures and rules for claims by

CJA attorneys and should be followed regarding each voucher.

   The Court will review the interim vouchers when submitted, particularly with regard to the

amount of time claimed, and will authorize compensation to be paid for four-fifths (80%) of the

approved number of hours. The Court will also authorize payment for all reimbursable expenses

reasonably incurred.

   At the conclusion of representation, counsel should submit a final voucher seeking payment of

the one-fifth (20%) balance withheld from the earlier interim vouchers. The final voucher shall

be labeled as such in Box 22 and shall set forth in detail the time and expenses claimed for the

entire case, including all appropriate documentation. After reviewing the final voucher, the

Court will submit it to the Chief Judge of the Circuit or his or her designee for review and

approval.

                               2. REIMBURSABLE EXPENSES

   Counsel may be reimbursed for out-of-pocket expenses reasonably incurred incident to

representation. While the statute and applicable rules and regulations do not place a monetary

limit on the amount of expenses that can be incurred, counsel should incur no single expense

item in excess of $800 without PRIOR approval of the Court. Such approval may be sought by

submitting the CJ A 21 to the Clerk with supporting documentation attached if deemed necessary,

stating the nature of the expense, the estimated dollar cost and the reason the expense is

necessary to the representation. An application seeking such approval may be filed in camera, if

necessary. Upon finding that the expense is reasonable, the Court will authorize counsel to incur


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it. Recurring expenses, such as telephone calls, photocopying and photographs, which aggregate

more than $800 on one or more interim vouchers are not considered single expenses requiring

Court approval.

   With respect to travel outside of the city-county-state for the purpose of consulting with the

client or his or her former counsel, interviewing witnesses, etc., the $800 rule should be applied

in the following manner. Travel expenses, such as, mileage, parking fees, meals and lodging, can

be claimed as itemized expenses. Therefore, if the reimbursement for expenses relating to a

single trip will aggregate an amount in excess of $800, the travel should receive PRIOR

authorization of the Court. The following additional guidelines may be helpful:

   (a) Case related travel by privately owned automobile should be claimed per mile at the

applicable rate (check with the Clerk's office for current rates), plus parking fees, ferry fees, and

bridge, road and tunnel tolls. Transportation other than by privately owned automobile should be

claimed on an actual expense basis. If travel is authorized, arrangements can be made at

Government rates through National Travel Service. Please contact the CJA administrator in the

Clerk's office for additional guidance. Air travel in "first class" is prohibited.

   (b) Actual expenses incurred for meals and lodging while traveling during the course of

representation must conform to the prevailing limitations placed upon travel and subsistence

expenses of federal judiciary employees in accordance with existing government travel

regulations. For specific details concerning high-cost areas, counsel should consult the Clerk.

   (c) Telephone toll calls, telegrams, photocopying and photographs can all be reimbursable

expenses if reasonably incurred. However, general office overhead, such as rent,


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secretarial help and telephone service, is not a reimbursable expense, nor are items of a personal

nature. In addition, expenses for services of subpoenas on fact witnesses are not reimbursable,

but rather are governed by Rule 17 F.R.Crim.P. and 28U.S.C.§1825.




                         3. FURTHER QUESTIONS OR GUIDANCE

   Answers to questions concerning services under the Criminal Justice Act, can generally be

found in (l) 18 U.S.C. 3006(A); (2) the Plan of the United States District Court for the District of

New Jersey; (3) Appendix I to the Criminal Justice Act Plan; and (4) Guidelines for the

Administration of the Criminal Justice Act, published by the Administrative Office of the U.S.

Courts. Should these references fail to provide the desired clarification or direction, counsel is

directed to contact the Clerk's office, specifically, Anna Irwin, CJA Administrator at

(609) 989-2398 in Trenton.



DATE: ~ 2- 7, lo!~
                                                   JREOME B. SIMANDLE, CHIEF, U.S.D.J.


                                           APPROVED


DATE:                                          -r-l J: u:~fl
                                               THOMAS I. VANASKIE, JUDGE
                                               UNITED STATES COURT OF APPEALS
                                               FOR THE THIRD CIRCUIT


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